 Case 15-18989-jkf         Doc 103        Filed 05/29/18 Entered 05/29/18 15:53:37                Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Regina N.K. Ndeto
                                 Debtor                                              CHAPTER 13

ARCPE HOLDING, LLC
                                 Movant
                vs.
                                                                                 NO. 15-18989 JKF
Regina N.K. Ndeto
                                 Debtor

Frederick L. Reigle Esq.
                                 Trustee
                                                                                11 U.S.C. Section 362

                              MOTION OF ARCPE HOLDING, LLC
                           FOR RELIEF FROM THE AUTOMATIC STAY
                                    UNDER SECTION 362

         1.       Movant is ARCPE HOLDING, LLC.

         2.       Debtor is the owner of the premises 305 Fairfield Avenue, Upper Darby, PA 19082,

 hereinafter referred to as the mortgaged premises.

         3.      Movant is the holder of a mortgage, original principal amount of $115,000.00 on the

 mortgaged premises that was executed on May 18, 2006. Said mortgage was recorded on July 11, 2006 at

 Book 3848, Page 2000. The Mortgage was subsequently assigned to Movant by way of Assignment of

 Mortgage recorded on January 25, 2018, at Book 06121, Page 1173 in Delaware County.

         4.       Frederick L. Reigle Esq., is the Trustee appointed by the Court.

         5.       The commencement and/or continuation of the mortgage foreclosure proceedings by reason

 of non-payment of monthly mortgage payments were stayed by the filing of a Chapter 13 Petition in

 Bankruptcy by the Debtor.

         6.       Debtor has failed to make the monthly post-petition mortgage payments in the amount of

 $1,041.00 for the months of January 2016 through March 2018.

         7.       The total amount necessary to reinstate the loan post-petition is $28,107.00.

         8.    Movant is entitled to relief from stay for cause.
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        9.      This motion and the averments contained therein do not constitute a waiver by Movant of

its right to seek reimbursement of any amounts not included in this motion, including fees and costs, due

under the terms of the mortgage and applicable law.

        WHEREFORE, Movant prays that an Order be entered modifying the Stay and permitting Movant to

proceed with its mortgage foreclosure on the mortgaged premises, and to allow the Sheriff's Grantee to take

any legal action to enforce its right to possession of the mortgage premises. Further, Movant prays that an

Order be entered awarding Movant the costs of this suit, reasonable attorney's fees in accordance with the

mortgage document and current law together with interest.


                                                      /s/ Kevin G. McDonald, Esquire
                                                      Kevin G. McDonald, Esquire
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                                                      Attorneys for Movant/Applicant
Date: May 29, 2018
